                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                          Case No. 3:24-CV-0048-RJC-SCR



 NICOLE D. HARRIS

                        Plaintiff,

        v.                                             ORDER STAYING CASE PENDING
                                                              ARBITRATION
 CHARTER COMMUNICATIONS, LLC,

                        Defendant.




       Before the Court is the Parties’ Stipulation and Joint Motion to Stay Case Pending

Arbitration (Doc. No. 7). The Court, having read and considered the Stipulation, and finding good

cause therefore, hereby orders as follows:

       The Court hereby STAYS this action pending arbitration of Plaintiff’s claims, and

Defendant is not required to file an answer to Plaintiff’s Complaint unless and until further

application by the Parties or Order of this Court. See 9 U.S.C. § 3. The parties are ORDERED

to arbitrate their dispute in accordance with their agreement.

       The parties are further ORDERED to file a status update 90 days from this Order and

every 90 days thereafter.
                                          Signed: February 27, 2024
       SO ORDERED.




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